Case 3:17-cv-00939-WHA Document 409-12 Filed 05/09/17 Page 1 of 4




                 EXHIBIT 5
   FILED UNDER SEAL
Case 3:17-cv-00939-WHA Document 409-12 Filed 05/09/17 Page 2 of 4


                                                               Page 1
                        UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
                           SAN FRANCISCO DIVISION
                                    -oOo-
    WAYMO LLC,                       )
                                     )
                   Plaintiff ,       )
                                     )
        vs.                          )   Case No: 3:17-cv-00939-WHA
                                     )
    UBER TECHNOLOGIES, INC.,         )
    OTTOMOTTO LLC, OTTO TRUCKING,)
    LLC,                             )
                                     )
                   Defendants.       )
    _____________________________)


                    CONFIDENTIAL - ATTORNEYS' EYES ONLY
                  VIDEOTAPED DEPOSITION OF DANIEL GRUVER
                          San Francisco, California
                          Thursday, April 20, 2017




    Reported by:
    LISA R. TOW
    CSR No. 6629
    Job No. 2599857


    PAGES 1 - 73
Case 3:17-cv-00939-WHA Document 409-12 Filed 05/09/17 Page 3 of 4


                                                              Page 51
1          Q.    Are you aware whether             used a

2    similar design?

3          A.    I don't recall.

4          Q.    Are you aware of any other lidar

5    devices that use

6          A.    I am.

7          Q.    What are they?

8          A.

9          Q.

10

11         A.

12         Q.

13

14         A.

15

16         Q.

17         A.    Sorry.     Clarify.

18         Q.

19

20         A.

21

22         Q.

23

24         A.

25
Case 3:17-cv-00939-WHA Document 409-12 Filed 05/09/17 Page 4 of 4


                                                              Page 52
1

2          Q.    And that's one that you've

3    observed in connection with your work at

4    Otto or Uber?

5          A.    Yes.

6          Q.    Is the               on the Fuji -- for

7    the PCBs and Fuji that do have

8

9          A.    I don't know.

10         Q.    Are you aware of any patents or

11   publications that disclose

12          ?

13         A.    I'm not.

14         Q.    The Fuji design includes

15   transmit boards total; is that fair?

16         A.    That is.

17         Q.    And each of the

18   in the Fuji device includes

19                  ; is that correct?

20         A.    That is correct.

21         Q.    What's the benefit of that design?

22         A.    Of which design?

23         Q.    Of the -- of having

24

25
